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            IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MARYLAND
CRYSTAL LONG,
                                Civil Action No.
              Plaintiff,
    V.                          8:17-cv-01955-GJH

PENDRICK CAPITAL PARTNERS II,
LLC,


ABILITY RECOVERY SERVICES,
LLC,


EXPERIAN INFORMATION
SOLUTIONS, INC.,


     AND


EQUIFAX INFORMATION SERVICES,
LLC,


                   Defendants.


  DEFENDANT, ABILITY RECOVERY SERVICES, LLC'S DISCLOSURE OF
            AFFILIATIONS AND FINANCIAL INTERESTS

      AND NOW comes Defendant, Ability Recovery Services, LLC ("ARS"), by

and through its undersigned counsel, and respectfully makes these disclosures

in accordance with L.R. 103.3:

      (a)   Corporate Affiliation: None.

      (b)   Financial Interests in Outcome of Litigation: The undersigned is

not aware of any other entities which may have a financial interest in the

outcome of this litigation.


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                                       Respectfully submitted,

                                       MARSHALL DENNEHEY WARNER
                                       COLEMAN & GOGGIN, P.C.


                                By:           /s/ Armand J. Della Porta, Esq.
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                                       Service, LLC


Dated: July 28, 2017



                           CERTIFICATE OF SERVICE

        I certify that on this day I served a copy of the foregoing document to all

counsel by CM/ECF, which service satisfies the Federal Rules of Civil

Procedure.


                                       MARSHALL DENNEHEY WARNER
                                       COLEMAN & GOGGIN, P.C.


                                By:          /s/ Armand J. Della Porta, Esq.

Dated: July 28, 2017




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